      Case 1:20-cv-21108-UU Document 32 Entered on FLSD Docket 05/27/2020 Page 1 of 8

AO 440 (Rev. 06/12) Summons in a Civil Action
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                                      UNITED STAIE~or~ISTRICT COURT

                                                        Southr Ot~ct ofF!ortda

                    MARTA REYES, et al.
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                            Plaintiff(s)
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                                                                       )
                                v.                                          Civil Action No. 1:20-cv-21108-UU
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         PEOPLE'S REPUBLIC OF CHINA, et al.                            )
                                                                       )
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                           Defendant(s)                                )

                                                    SUMMONS IN A CIVIL ACTION

To:   (Defendant's name and address)       Communist Party of China
                                           The Central Committee of the Communist Party of China
                                           Attn.: Xi Jinping
                                           12 Fuyou Street, Xicheng District, Beijing, China 100017




          A lawsuit has been filed against you.

         Within 21 days after service of this summons :on you (not counting the day you received it) - or 60 days if you
are the United States or a United States agency, or ah officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) - you must serve on the plaintiff ah answer to the attached complaint or a motion under Rule 12 of
                                                                   I

the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are: MATTHEWT. MOORE, ESQ.
                                 THE LAW OFFICES OF BERMAN & BERMAN, P.A.
                                 D/B/A 'BERMAN LAW GROUP
                                 POST OFFICE BOX 272789
                                 BOCA RATON, FL 33f27

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       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the co~rt.

                                                                               Angela E. Noble


              MAY 2 7 2020
Date:
                                                                                           Signature of Clerk or Deputy Clerk
      Case 1:20-cv-21108-UU Document 32 Entered on FLSD Docket 05/27/2020 Page 2 of 8

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STA1fES DISTRICT COURT
                                                                                           for the
                                                                 Southern District of Florida
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                    MARTA REYES, et al.
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                            Plaintiff(s)
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                                v.                                                               )
                                                                                                                    Civil Action No. 1:20-cv-21108-UU

         PEOPLE'S REPUBLIC OF CHINA, et al.                                                      )
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                                                                                                 )
                           Defendant(s)                                                          )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) The People's Governemnt of City of Wuhan, China
                                           Attn.: Zhou Xianwang
                                           188 Yanjiang Ave, Jiang'an District, Wuhan, Hubei, China, 430012




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) - or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3)-you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are: MATTHEW T. MOORE, ESQ.
                                 THE LAW OFFICES OF BERMAN & BERMAN, P.A.
                                           D/B/A BERMAN LAW GROUP
                                           POST OFFICE BOX 272789
                                           BOCA RATON, FL 33427


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with
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Date:      MAY 2: 7 2020
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     Case 1:20-cv-21108-UU Document 32 Entered on FLSD Docket 05/27/2020 Page 3 of 8

AO 440 (Rev. 06/12) Summons in a Civil Action
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                                      UNITED STA~ES DISTRICT COURT
                                                             \        for the
                                                       Southe,rn District of Florida
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                    MARTA REYES, et al.
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                            Plaintiff(s)                                )
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                                v.                                              Civil Action No. 1:20-cv-21108-UU
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        PEOPLE'S REPUBLIC OF CHINA, et al.                              )
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                           De/endant(s)                                 )

                                                   SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) Hubei Health Commission
                                           Attn.: Wang Hesheng
                                           39 Zhuodaoquan Bei Road, Hongshan District, Wuhan, Hubei, China 430079




          A lawsuit has been filed against you.

         Within 21 days after service of this summons t°n you (not counting the day you received it) - or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3)-you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are: MATTHEWT. MOORE, ESQ.
                                 THE LAW OFFICES OF BERMAN & BERMAN, P.A.
                                           D/B/A,BERMAN LAW GROUP
                                           POST OFFICE BOX 272789
                                           BOCA RATON, FL 33r27

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       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

                                                                                Angela E. Noble
     Case 1:20-cv-21108-UU Document 32 Entered on FLSD Docket 05/27/2020 Page 4 of 8

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                             i       for the
                                                       Southirn District of Florida


                    MARTA REYES, et al.                                )
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                            Plaintiff(s)
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                                V.                                             Civil Action No. 1:20-cv-21108-UU
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        PEOPLE'S REPUBLIC OF CHINA, et al.                             )
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                           Defendant(s)                                )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant ·s name and address) The People's Government of Hubei Province
                                           Attn.: Wang Xiaodong
                                           7 Hongshan Road, Wuchang District, Wuhan, Hubei, China, 430071




          A lawsuit has been filed against you.

         Within 21 days after service of this summons Ion you (not counting the day you received it) - or,60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3)-you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are: MATTHEW T. MOORE, ESQ.
                                 THE LAW OFFICES OF BERMAN & BERMAN, P.A.
                                           D/B/A BERMAN LAW GROUP
                                           POST OFFICE BOX 272789
                                           BOCA RATON, FL 33427


                                                                 I
       If you fail to respond, judgment by default wiJ,l be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

                                                                               Angela E. Nobl~


             MAY 2_7 2020
Date:
     Case 1:20-cv-21108-UU Document 32 Entered on FLSD Docket 05/27/2020 Page 5 of 8

AO 440 (Rev. 06/12) Summons in a Civil Action
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                                      UNITED STA~ES DISTRICT COURT
                                                        \       for the
                                                  Southern District of Florida


                    MARTA REYES, et al.
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                            Plaintiff(s)                          )
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                                v.                                        Civil Action No. 1:20-cv-21108-UU
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        PEOPLE'S REPUBLIC OF CHINA, et al.                        )
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                           Defendant(s)                           )

                                                SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) National Health Commission of the People's Republic of China
                                   Attn.: Ma Xiaowei
                                   No 1 Xizhimen Outer South Road, Xicheng District, Beijing, China 100044




          A lawsuit has been filed against you.             I
         Within 21 days after service of this summons .on you (not counting the day you received it) - or 60 days if you
are the United States or a United States agency, 9r an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3)-you must serve on the plaintiff aµ answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or rjiotion must be served on the plaintiff or plaintiff's attorney,
whose name and address are: MATTHEW T. MOORE, ESQ.
                                 THE LAW OFFICES OF BERMAN & BERMAN, P.A.
                                 D/B/A BERMAN LAW GROUP
                                 POST OFFICE BOX 272789
                                 BOCA RATON, FL 33427

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       If you fail to respond, judgmei:it by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the co4rt.
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                                                                          Angela E. Noble
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Date:
                   MAY 2 7 2020
     Case 1:20-cv-21108-UU Document 32 Entered on FLSD Docket 05/27/2020 Page 6 of 8

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STA\TES DISTRICT COURT
                                                               \           for the
                                                        Southr Dist;ict ofFlorida

                    MARTA REYES, ·et al.
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                            Plaintiff(s)
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                                V.                                                   Civil Action No. 1:20-cv-21108-UU
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        PEOPLE'S REPUBLIC OF CHINA, et al.                                   )
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                           Defendant(s)                                      )

                                                    SUMMON'S IN A CIVIL ACTION
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To: (Defendant ·s name and address) People's Republic of China
                                           The State Council of the People's Republic of China
                                           Attn.: Li Keqiang
                                           2 Fuyou Street, Xicheng District, Beijing, China 100017




          A lawsuit has been filed against you.                    1



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         Within 21 days after service of this summons on you (not counting the day you received it)- or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3)-you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or rpotion must be served on the plaintiff or plaintiffs attorney,
whose name and address are: MATTHEWT. MOORE, ESQ.                         l
                                           THE LAW OFFICES OF BERMAN & BERMAN, P.A.
                                           D/B/A BERMAN LAW GROUP
                                           POST OFFICE BOX 272789
                                           BOCA RATON, FL 33427

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       If you fail to respond, judgment by default wii'I be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

                                                                                     Angela E. Noble


Date:       MAY 2} 2020
                                                                                                  Signature of Clerk or Deputy Clerk
      Case 1:20-cv-21108-UU Document 32 Entered on FLSD Docket 05/27/2020 Page 7 of 8

AO 440 (Rev. 06/12) Summons in a Civil Action


                                       UNITED STAlTES DISTRICT COURT
                                                               I       for the
                                                         Southr Di~ct ofF!orida

                    MARTA REYES, et al.
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                                 V.                                              Civil Action No. 1:20-cv-21108-UU
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          PEOPLE'S REPUBLIC OF CHINA et al.                              )
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                           Defendant(s)                                  )
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                                                     SUMMONS IN A CIVIL ACTION

To:   (Defendant's name and address)        Wuhan Health Comjission
      ·                                     Attn.: Zhang Hongxing
                                            20 Jianghan Bei Road, Jiang'an District, Wuhan, Hubei, China, 430014




          A lawsuit has been filed against you.

          Within 2 I days after service qf this summons, on you (not counting the day you received it) - or 60 days if you
are the United States or a United States agency, or an:officer or employee of the United States described in Fed. R. Civ.
P. I 2 (a)(2) or (3) - you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are: MATTHEW T. MOORE, ESQ.
                                   THE LAW OFFICES OF BERMAN & BERMAN, P.A.
                                   D/B/A BERMAN LAW GROUP
                                   POST OFFIC~ BOX 272789 .
                                   BOCA RA TON, FL 33427

                                                                   I
        If you fail to respond, judgment by default wi'.JII be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.
                                                                                  Angela E. Noble



Date:      MAY 2 7 2020
                                                                                              Signature of Clerk or Deputy Clerk
    Case 1:20-cv-21108-UU Document 32 Entered on FLSD Docket 05/27/2020 Page 8 of 8

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STAlTES DISTRICT COURT
                                                        j    for the
                                                  Southern District of Florida


                    MARTA REYES, et al.                         )
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                            Plaintiff(s)                       )
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                                V.                                     Civil Action No. 1:20-cv-21108-UU
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        PEOPLE'S REPUBLIC OF CHINA, et al.                      )
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                                                                )
                           Defendant(s)                         )

                                                SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) Wuhan Institute of Virology, Chinese Academy of Sciences
                                   Attn.: Yanyi Wang          ·
                                   Xiao Hong Shan No.44, Wuhan, Hubei, China, 430071




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it)- or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3)-you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are: MATTHEW T. MOORE, ESQ.
                                 THE LAW OFFICES OF BERMAN & BERMAN, P.A.
                                 D/B/A BERMAN LAW GROUP
                                 POST OFFICE BOX 272789
                                 BOCA RATON, FL 33427


          If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.




            MAY 2) 2020
Date:   ----------
